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                           THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO


KRISTINA MARTINEZ, inher Capacity
as the Personal Representative of the
Wrongful Death Estate of BARBARA
GRANGER, And SCOTT GRANGER,
individually,
                                                           Case   No.   I : 19-cv-00994-JB-JHR
           Plaintiffs,
vs.

DART TRANS, INC., GILBERT TAN d/b/A
GMT TRUCKING, SLINRISE TIRE AND
LUBE SERVICE, INC., HAR.SUKH CORP.,
INC., SAM SANDHU, JASVIR SINGH,
RAJINDER SINGH BASSI, SUKHDEV
SINGH DHALIWAL, TERI-OAT, LLC, JOHN
DOE        1,
         JOHN DOE                2,
                          GOODWILL
TRUCKING, LLC, and GURPREET
SUCH,

           Defendants.

             STIPULATED ORDER OF PARTIAL DISMISSAL WITH PREJUDICE

       This matter having come before the Court on the Joint Motion to Dismiss with Prejudice filed

by Kristina Martinez, as Personal Representative of the Wrongflrl Death Estate of Barbara Granger,

deceased, and Scott Granger    ("Plaintiffs"), by and through their attorneys of record, Peifer, Hanson,

Mullins & Baker, P.A. (Mark T. Baker and Matthew W. Beck), Dart Trans, Inc. ("Dart"), by and

through its attomeys of record, Stiff; Keith & Garcia, LLC (John S. Stiff and Arturo R. Garcia), and

Gilbert Tan ("Tan"), by and through his attorneys of record, Mayer LLP (Brian J. Fisher and David

C. Larsen), and Defendants Goodwill Trucking, LLC and Gurpreet Such, by and through their

attomeys of record, Civerolo, Gralow       & Hill, P.A. (Lance D. Richards and Lauren R. Wilber)

hereinafter collectively referred to as "the Parties.




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        The Court having considered the Motion, finds that the above lawsuit as it relates to the

claims against Dart, Tan, Goodwill Trucking, LLC and Gurpreet Such, only, should be dismissed

with prejudice. Plaintiffs'claims against other defendants should not be dismissed at this time.

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the causes of

action and claims asserted in the operative Complaint filed by Plaintiffs against Defendants Dart,

Tan, Goodwill Trucking, LLC and Gurpreet Such, along with all claims that could have been

asserted therein, are hereby dismissed   with prejudice, with each party bearing their own costs and

fees.




                                                    NORABLE JAM               ROWNING
                                                     D STATES DIS             JUDGE
Submitted by:

PEIFER, HANSON, MULLINS &                AKER, P.A.

By:              ved
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STIFF, KEITH & GARCIA, LLC


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CIVEROLO, GRALOW & HILL, P.A.

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